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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: JOYCE GERBER,                                  :       No.: 16-13412-REF
                                                      :
                        Debtor.                       :        Chapter 13

             ORDER UPON CONVERSION OF CASE UNDER CHAPTER 13
                   TO CASE UNDER CHAPTER 7 BY DEBTOR

       The Debtor has filed a notice of conversion in accordance with 11 U.S.C. §1307(a)
converting this case to a Chapter 7 of the Bankruptcy Code (Title 11 of the United States Code).
IT IS ORDERED THAT:
       1. The Chapter 13 Trustee within thirty (30) days of the date of this Order shall file
an accounting of all receipts and distributions made, together with a schedule of all unpaid debts
incurred after the commencement of the Chapter 13 case, as required by Bankruptcy Rule
1019(6).
       2. The Chapter 13 Trustee forthwith shall turn over to the Chapter 7 Trustee all
records and property of the estate remaining in the Chapter 13 Trustee’s custody and control, as
required by Bankruptcy Rule 1019(5).
       3. The Debtor within fifteen (15) days of this Order shall filed the statements and
schedules required by Bankruptcy Rules 1019(1)(A) & 1007(c), if such documents have not
already been filed.
       4. The Debtor within thirty (30) days of the date of this Order shall, if the case is
converted after the confirmation of a plan, file:
               a. A schedule of all property not listed in the final report and account of the
Chapter 13 case before the entry of this conversion order,
               b. A schedule of executor contracts entered into or assumed after the
commencement of the Chapter1 3 case but before the entry of this conversion
Order, and
               c. A schedule of unpaid debts not listed in the final report and account of the
Chapter 13 Trustee which were incurred after the commencement of the Chapter 13 case but
before the entry of this conversion order, as required by the Bankruptcy Rule 1019(6); and
               d. A statement of intention with respect to retention or surrender or property
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securing consumer debts, as required by 11 U.S.C. §521(2)(A), and
Bankruptcy Rule 1019(1)(B),and conforming to Official Form 8A.


                                                  FOR THE COURT:



                                                  ___________________________________
                                                  US Bankruptcy Judge Richard E. Fehling

cc:     Patrick J. Best, Esq.
       18 North 8th Street
       Stroudsburg, PA 18360

       Scott F. Waterman, Standing Trustee
       2901 St. Lawrence Ave., Ste. 100
       Reading, PA 19606
